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By ECF & email                                                     January 8, 2021

Honorable P. Kevin Castel                    Application GRANTED.
United States District Judge                 SO ORDERED.
United States District Court                 Dated: 1/8/2021
500 Pearl Street
New York, N.Y. 10007

       Re: United States v. Luis Mejia,
             16 Cr. 45 (PKC)

Dear Judge Castel:

       The reply on behalf of Mr. Luis Mejia is due today. I will not be able to complete
the submission today. I seek permission to make the submission on Monday January 11th.

        Assistant U.S. Attorney Jason Swergold advised that he has no objection to my
request for additional time until Monday to submit the reply to your Honor. I apologize
for the lateness of this request.

       Thank you for your consideration of this request.


                                                           Respectfully yours,
                                                                 /s/
                                                           Thomas F.X. Dunn

Cc: Jason Swergold, Esq.
    Assistant U.S. Attorney
    Jane Kim, Esq.
    Assistant U.S. Attorney
    (by ECF & email)
